Case 2:23-qy-12886-SFC-EAS ECF No. 37-19, PagelD.1611 Filed 10/07/24 Page 1 of 4

Appendix

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CREPES M1 BBBOCSPROERES Be RSOURTSEP PRL 6+ Fa DSHIA4* PEGESS GF 41

Sep 2023 $5,433 $196 $196 on 9/15/2023
Aug 2023 $5,586 $196 $196 on 8/17/2023
Jul 2023 $5,737 $196 $196 on 7/19/2023
Jun 2023 $5,889 $196 $196 on 6/21/2023
May 2023 $6,026 $196 $196 on 5/16/2023
Apr 2023 $6,176 $196 $196 on 4/18/2023
Mar 2023 $6,318 $196 $196 on 3/17/2023
Feb 2023 $6,472 $196 $196 on 2/21/2023
Jan 2023 $6,607 $196 $196 on 1/18/2023
Dec 2022 $6,749 $196 $196 on 12/19/2022
Nov 2022 $6,893 $196 $196 on 11/21/2022
Oct 2022 $7,030 $196 $196 on 10/21/2022
Sep 2022 $7,166 $196 $196 on 9/20/2022
Aug 2022 $7,305 $196 $196 on 8/22/2022

Additional info

The original amount of this account was $14,906

be Contact Info

Address 650 S MAIN ST STE 1000,
SALT LAKE CITY UT 84101
Phone Number (888) 390-1220
JPMCB CARD

POTENTIALLY NEGATIVE

Account Info

Account Name JPMCB CARD Balance $9,772
Account Number 464018XXXXXXXXXX Balance Updated 11/21/2023
Account Type Credit Card Recent Payment -
Responsibility Individual Monthly Payment -

Date Opened 02/03/2009 Credit Limit $8,000
Status Account charged off. $9,772 written Highest Balance $9,772

off. $9,772 past duc as of Nov 2022.
Terms

Status Updated Jul 2021 -
On Record Until Sep 2027
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2020 v v v
2019 v v v
2018 v v v
2017 v v v
2016 = = =

¥ Current / Terms met 30
60 Past due 60 days 90
120 Past due 120 days 150
180 Past due 180 days co

ND No data for this period

Payment history guide

Charge Off as of Nov 2023, Oct 2023, Sep 2023, Aug 2023, Aug 2021, Jul 2021

180 days past due as of Jun 2021
150 days past due as of May 2021
120 days past due as of Apr 2021
90 days past due as of Mar 2021
60 days past due as of Feb 2021

30 days past due as of Jan 2021

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Past due 30 days
Past due 90 days
Past due 150 days
Charge off

This account is scheduled to continue on record until Sep 2027.

Balance Histories

Date

Oct 2023
Sep 2023
Aug 2023

Jun 2023

Additional info

Between Jun 2023 and Oct 2023, your credit limit/high balance was $8,000

be Contact Info

Address

Phone Number

Balance
$9,772
$9,772
$9,772

$9,772

Scheduled Payment

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PO BOX 15369,
WILMINGTON DE 19850

(800) 945-2000

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$0 on 11/17/2020
$0 on 11/17/2020
$0 on 11/17/2020

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Account closed at credit grantor’s request.

Previous:

Account closed at credit grantor's request.
Aug 2023 to Oct 2023

Reinvestigation Info

This item was updated from our processing of your dispute in Jun 2023.

KOHLS/CAPONE

Account Info

Account Name KOHLS/CAPONE Balance -
Account Number 639305XXXXXXXXXX Balance Updated -
Account Type Charge Card Recent Payment -
Responsibility Individual Monthly Payment -

Date Opened 05/06/2009 Credit Limit $1,500
Status Paid, Closed/Never late. Highest Balance $718
Status Updated Jul 2018 Terms -

On Record Until Jul 2028

Payment History

J F M A M J J A S 0 N D
2018 v v v v v v CLS - - a - -
2017 v / Y v v v v v v v v Y
2016 v / Y / J v a7 Y / a / S
2015 ov v v / v v v v v / v /
2014 v v Y Y / v Y Y / / v /
2013 Vv v v v / v Y v v v v v
2012 v v J J / v a / J a v v
2011 = = = = = = J v v v /

“Current / Terms met CLS Closed

This account is scheduled to continue on record until Jul 2028.

BJ Contact Info

